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     PACIFIC LOCK COMPANY
7
8                                    UNITED STATES DISTRICT COURT
9                                   CENTRAL DISTRICT OF CALIFORNIA
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11 PACIFIC LOCK COMPANY,                            Case No.: 14-CV-06371-ODW-VBK
12                    Plaintiff,                    Hon. Judge Otis D. Wright, II
13           v.                                     DISMISSAL ORDER
14 THE EASTERN COMPANY d/b/a CCL
   SECURITY PRODUCTS, WORLD                         Complaint Filed:       8/13/14
15 LOCK CO. LTD., DONGGUAN
   REEWORLD SECURITY PRODUCTS
16 LTD., and DOES 1-10, inclusive,
17                    Defendants.
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                                     [PROPOSED] DISMISSAL ORDER
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1             WHEREAS, the Court is informed that the parties have resolved this action
2    pursuant to a settlement agreement. Plaintiff PACIFIC LOCK COMPANY hereby
3    dismisses all of its claims against Defendants THE EASTERN COMPANY d/b/a
4    CCL SECURITY PRODUCTS, WORLD LOCK CO. LTD. and DONGGUAN
5    REEWORLD SECURITY PRODUCTS LTD. with prejudice.
6             IT IS HEREBY ORDERED that, pursuant to and in accordance with the terms
7    of the settlement agreement, the Complaint of PACIFIC LOCK COMPANY shall be
8    dismissed with prejudice.
9             SO ORDERED this 20th day of July 2015
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11                                            UNITED STATES DISTRICT JUDGE
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                                    [PROPOSED] DISMISSAL ORDER
     ACTIVE 30506485v1 07/17/2015               1
